Case 4:18-cv-00298-SPF-JFJ Document 250 Filed in USDC ND/OK on 02/03/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ, on behalf of himself
    and others similarly situated,

                   Plaintiffs,

             v.                                           Case No. 18-cv-0298-CVE-JFJ

    BOARD OF COUNTY
    COMMISSIONERS OF TULSA
    COUNTY, et al.,

                   Defendants.


                                 ORDER EXTENDING DEADLINES

         Plaintiff moves for a status conference or, in the alternative, an extension of the

   scheduling order, ECF No. 247. The motion for an extension of the scheduling order is

   granted.

         It is therefore ORDERED that:

         •        The deadline for Plaintiff’s expert reports is extended to April 27, 2021.

         •        The deadline for Defendants’ expert reports and disclosures are extended to
                  May 28, 2021.

         •        The deadline for all discovery is extended to July 2, 2021.

         •        The deadline for dispositive and Daubert motions is extended to August 10,
                  2021.

         SO ORDERED this 3rd day of February, 2021.




                                                      JODIF.JAYNE,MAGISTRATEJ
                                                                            UDGE
                                                      UNITEDSTATESDISTRICTCOURT
